966 F.2d 702
    296 U.S.App.D.C. 182
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.James L. MARTIN, Appellant,v.DISTRICT OF COLUMBIA COURT OF APPEALS, et al.
    No. 91-7176.
    United States Court of Appeals, District of Columbia Circuit.
    May 8, 1992.Rehearing and Rehearing En BancDenied July 24, 1992.
    
      Before WALD, D.H. GINSBURG and SENTELLE, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion to expedite appeal;  the motion for summary reversal, the opposition thereto and the reply;  the motions for summary affirmance and the opposition thereto, it is
    
    
      2
      ORDERED that the motions for summary affirmance be granted substantially for the reasons stated by the district court in its order filed October 4, 1991.   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).   It is
    
    
      3
      FURTHER ORDERED that the motion for summary reversal be denied.   It is
    
    
      4
      FURTHER ORDERED that the motion to expedite appeal be dismissed as moot.
    
    
      5
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    